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                      IN THE UNITED STATES DISTRICT COURT
                     FOR WESTERN DISTRICT OF PENNSYLVANIA

RENEE ZINSKY,

                                     Plaintiff,
                                                   CIVIL ACTION NO. 2:22-CV-547(MJH)
               v.

MICHAEL RUSSIN, RUSSIN FINANCIAL,
RUSSIN GROUP, SIMON ARIAS, III, ARIAS
AGENCIES, S.A. ARIAS HOLDINGS, LLC,
AMERICAN INCOME LIFE INSURANCE        ELECTRONICALLY FILED
COMPANY,

                                  Defendants.


            MOTION FOR ADMISSION PRO HAC VICE OF ANNE R. DANA
       Now comes, Anne R. Dana who moves this court to grant admission to appear and

practice in the United States District Court, Western District of Pennsylvania in the above-

captioned matter as counsel pro hac vice for Defendant, American Income Life Insurance

Company.

       1.      Ms. Dana is a member in good standing of the following State Courts and/or

United States Courts:

               Court                                                Date of Admission

               New York                                             2012
               US Court of Appeals for the Second Circuit           2017
               USDC Western District of MI                          2023

       2.      Ms. Dana has never been disbarred, suspended or disciplined by any court.

       3.      Ms. Dana is a Partner with the law firm of King & Spalding LLP, with offices at

1185 Avenue of the Americas, 34th Floor, New York, NY 10036. Her email address is

adana@kslaw.com.
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       4.     The Affidavit of Anne R. Dana, in support of this motion is attached hereto as

Exhibit A.

       WHEREFORE, movant Anne R. Dana respectfully requests that an Order granting

admission pro hac vice.



DATED: February 15, 2024                         Respectfully submitted,
                                                 KING & SPALDING LLP


                                                 ____________________________
                                                 ANNE R. DANA
                                                 State Bar No. 5011366
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